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                   UNITED STATES DISTRICT COURT

                 NORTHERN DISTRICT OF CALIFORNIA

Before The Honorable Richard Seeborg, Judge

UNITED STATES OF AMERICA,      )
                               )
           Plaintiff,          )
                               )
  VS.                          )      NO. CR 20-00249 RS
                               )
ROLAND MARCUS ANDRADE,         )
                               )
           Defendant.          )
_______________________________)

                              San Francisco, California
                              Tuesday, August 30, 2022


    TRANSCRIPT OF REMOTE ZOOM VIDEO CONFERENCE PROCEEDINGS

APPEARANCES VIA ZOOM:

For Plaintiff:
                           STEPHANIE M. HINDS
                           UNITED STATES ATTORNEY
                           450 Golden Gate Avenue, 11th Floor
                           San Francisco, California 94102
                    BY:    ROSS E. WEINGARTEN
                           ASSISTANT UNITED STATES ATTORNEY

For Defendant:
                           KING & SPALDING LLP
                           500 West 2nd Street, Suite 1800
                           Austin, Texas 78701
                    BY:    LUKE RONIGER, ATTORNEY AT LAW




          (APPEARANCES CONTINUED ON FOLLOWING PAGE)


REPORTED REMOTELY BY:      Ana Dub, RDR, RMR, CRR, CCRR, CRG, CCG
                           CSR No. 7445, Official U.S. Reporter
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1    APPEARANCES VIA ZOOM:      (CONTINUED)

2    For Defendant:
                                KING & SPALDING LLP
3                               1700 Pennsylvania Avenue, NW
                                Second Floor
4                               Washington, D.C. 20006
                        BY:     READ W. MILLS, ATTORNEY AT LAW
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1    Tuesday, August 30, 2022                                           2:30 p.m.

2                           P R O C E E D I N G S

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4             (Defendant present via Zoom, out of custody.)

5         THE CLERK:   Calling Case 20-cr-249, United States vs.

6    Roland Marcus Andrade.

7         Counsel, please state your appearances.

8         MR. WEINGARTEN:       Good afternoon, Your Honor.         Ross

9    Weingarten on behalf of the United States.

10        THE COURT:   Good afternoon.

11        MR. RONIGER:   And good afternoon, Your Honor.             Luke

12   Roniger for Marcus Andrade.       I'm joined by my colleague

13   Read Mills, also from King & Spalding.         And Mr. Andrade

14   consents to proceed via Zoom for today.

15        THE COURT:   Good afternoon.

16        So the last status, I think, was end of May.              And then

17   there was going to be some discovery litigation in front of

18   Judge Beeler, but that looks like that got withdrawn.

19        So let me start with you, Mr. Weingarten.               What's the

20   situation?

21        MR. WEINGARTEN:       Thank you, Your Honor.

22        I don't think much has changed since our last appearance.

23   We are still working through discovery issues.               Defense counsel

24   has made a number of discovery requests.          The Government, I and

25   Mr. Dawson and others, are working diligently to answer them
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1    and fill them.

2         I would describe the relationship between the parties

3    right now as productive.     I think we're sort of moving through

4    the issues in good and timely fashion.

5         I suspect there probably will be some discovery issues

6    where we are at loggerheads, and there may need to be motion

7    practice, but I don't think we're there yet.

8         And I'll let Mr. Roniger speak for the defense.            But for

9    the time being, what the parties propose is that we come back

10   before Your Honor in the middle of November, so about another

11   75 days.   We've asked and gotten a proposed date from your

12   courtroom deputy of November 15th.        We think that should be

13   enough time for us to work through the remaining discovery

14   issues; and hopefully, at that point we'll be able to come back

15   to Your Honor, figure out what needs to be litigated and what

16   doesn't, and then proceed with our case.

17        THE COURT:   Okay.    Mr. Roniger?

18        MR. RONIGER:   Yeah.    And I should mention, Your Honor,

19   Mr. Shepherd is in Judge Alsup's courtroom and wanted me to

20   make sure I'm appearing.     He is detained -- otherwise detained;

21   so I'm here.   But --

22        THE COURT:   That's fine.

23        MR. RONIGER:   -- I agree with, I think, most of what

24   Mr. Weingarten said with one caveat, which is that we have

25   continued to work through a variety of discovery issues.
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1         When we spoke with you in May, we -- you know, you

2    emphasized the importance of setting a trial date because if we

3    didn't, it would only get harder and harder to set one; and

4    that even then, you know, we could consider whether and if we

5    think that trial date is going to give us enough time.

6         The truth is, we just -- it's too soon for us to know.

7    There's a lot to do, and we are continuing to digest a lot of

8    information.

9         We spoke with the Government this afternoon, and,

10   you know, including something to the tune of 55 gigabytes of

11   information -- 55,000 gigabytes of information, on that order,

12   or 55 gigabytes -- I'm seeing Ross shake his head -- a lot of

13   information.

14        THE COURT:   It's a lot.    Okay.    I'm willing to -- fine.

15        MR. RONIGER:   Yeah.    And so there's a lot to digest.             And

16   it is productive, and we have continued to work with

17   the Government.   And they're -- you know, when they respond to

18   questions, that's sometimes the end of it.         Other times, we

19   have follow-up questions.     And our universe of documents to

20   review and digest has grown and will continue to grow.            There's

21   still some things we just don't have yet.        And so we hope -- we

22   will continue to keep working and hope to have a better answer

23   when we are before you again.

24        But other than that, we agree with what the Government

25   said, and we'll continue working through this stuff and pouring
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1    as many hours towards this as we can.

2         THE COURT:   Okay.     Well, as long as you're indicating to

3    me that it's not stalled in some fashion and productive work is

4    going on and the parties are actively engaged, I won't -- I

5    won't give you the speech again about getting on the trial

6    calendar and moving it along.

7         November 15th is fine.       And the speedy trial situation?

8         MR. WEINGARTEN:       Yeah, Your Honor.    I think we excluded

9    time until today, and the Government believes that time should

10   be excluded until November 15th for effective preparation.                As

11   Your Honor pointed out, it's a lot of stuff.          We are continuing

12   to produce.   I know that defense counsel is working very

13   diligently.   And so I think an exclusion for effective

14   preparation is appropriate.

15        THE COURT:   Okay.     Mr. Roniger, any objection?

16        MR. RONIGER:   No objection.

17        THE COURT:   Okay.     So --

18        THE DEFENDANT:    Mr. Roniger --

19        I'm sorry, sir.       If I can ask Mr. Roniger a question.

20        Have we received the 55 gigabytes of data from

21   the Government yet?

22        THE COURT:   Mr. Andrade, I don't think you want to be --

23        THE DEFENDANT:    I'm sorry.

24        THE COURT:   -- talking to your lawyer.

25        THE DEFENDANT:    My apologies.
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1         THE COURT:    You want to talk to them when I'm not here

2    and, even more importantly, when Mr. Weingarten is not here.

3    So, please --

4         THE DEFENDANT:    Sorry, Judge.       You're right.

5         THE COURT:    -- don't be asking questions.

6         Okay.   Mr. Weingarten, can you provide me with a proposed

7    exclusion order?

8         MR. WEINGARTEN:       My pleasure, Your Honor.

9         THE COURT:    Very good.

10        Anything else?

11        MR. WEINGARTEN:       Nothing from the Government.

12        THE COURT:    Okay.    All right.     I'll see you on

13   November 15th.    Hopefully, we'll have made progress and you

14   know what direction we're going.       So, good.      Thank you.

15        MR. WEINGARTEN:       Thank you, Your Honor.

16        MR. RONIGER:    Thank you, Your Honor.

17        THE DEFENDANT:    Thank you.

18        THE COURT:    Thank you.

19                   (Proceedings adjourned at 2:36 p.m.)

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2                          CERTIFICATE OF REPORTER

3               I certify that the foregoing is a correct transcript

4    from the record of proceedings in the above-entitled matter.

5

6    DATE:    Monday, September 19, 2022

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9            ____________________________________________________

10           Ana Dub, CSR No. 7445, RDR, RMR, CRR, CCRR, CRG, CCG
                        Official United States Reporter
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